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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     In re:                                    :    Chapter 11
     Blackjewel, L.L.C., et al.,               :    Case No. 19-30289
     Debtors,1                                 :    (Jointly Administered)
                                               :
                                               :
     BLACKJEWEL, L.L.C., et al.                :    Adv. Proc. No. 3:20-ap-03008
                                               :    (Consolidated Cases Adv. Proc. No. 3:20-ap-
            Plaintiffs,                        :    03012 and Adv. Proc. No. 3:20-ap-03015)
     v.                                        :
                                               :
     CLEARWATER INVESTMENT                     :
     HOLDINGS, LLC, et al.,                    :
                                               :
            Defendants.                        :
                                               :

                 AMENDED STIPULATION OF DISMISSAL WITH PREJUDICE
                       INCLUDING ALL CONSOLIDATED CASES

           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and Bankr. R. 7041, the Blackjewel Liquidation

 Trust (the “Trust”), as successor to the Debtors as Plaintiffs in the above-captioned consolidated

 cases, and Defendants Jeffery A. Hoops, Sr., Clearwater Investment Holdings, LLC, Lexington

 Coal Company, LLC, Triple H Real Estate, LLC, Lexington Coal Royalty Company, LLC, and

 Construction & Reclamation Services, LLC (“Defendants”) (each of the Trust and Defendants, a

 “Party”), by and through their respective counsel, hereby stipulate and agree that this action,

 including each of the consolidated cases pending herein (Blackjewel, L.L.C. et al. v. Lexington

 Coal Company, LLC et al., Adv. Proc. No. 3:20-ap-03012 and Blackjewel, L.L.C. et al. v. Triple




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   Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
 number were as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
 Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
 (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal
 Corporation (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024);
 and Cumberland River Coal LLC (2213).
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 H Real Estate, LLC et al., Adv. Proc. No. 3:20-ap-03015), is dismissed with prejudice to refiling

 and with each Party to pay its own fees and costs.

                                      Stipulated and Agreed,

  DATED: August 17, 2022

  MCGUIREWOODS LLP                                     SUPPLE LAW OFFICE, PLLC

  /s/ Frank Guadagnino                                 Joe M. Supple, Bar. No. 8013
  K. Elizabeth Sieg (admitted pro hac vice)            801 Viand St.
  Gateway Plaza                                        Point Pleasant, WV 25550
  800 East Canal Street                                Telephone: 304.675.6249
  Richmond, Virginia 23219                             Facsimile: 304.675.4372
  Telephone: (804) 775-1000                            joe.supple@supplelaw.net
  E-mail: bsieg@mcguirewoods.com
                                                            – and –
  Mark E. Freedlander (admitted pro hac vice)
  Frank Guadagnino (admitted pro hac vice)             SQUIRE PATTON BOGGS (US) LLP
  Tower Two-Sixty
  260 Forbes Avenue, Suite 1800                        /s/ Scott A. Kane
  Pittsburgh, Pennsylvania 15222                       Stephen D. Lerner (admitted pro hac vice)
  Telephone: (412) 667-6000                            Scott A. Kane (admitted pro hac vice)
  E-mail: mfreedlander@mcguirewoods.com                John A. Tancabel (admitted pro hac vice)
                                                       Jennifer L. Dollard-Smith (admitted pro
  A. Wolfgang McGavran (admitted pro hac vice)         hac vice)
  888 16th Street N.W., Suite 500                      201 E. Fourth Street, Suite 1900
  Black Lives Matter Plaza                             Cincinnati, Ohio 45202
  Washington, D.C. 20006                               Telephone: 513.361.1200
  Telephone: (202) 857-2471                            Facsimile: 513.361.1201
  E-mail: wmcgavran@mcguirewoods.com                   stephen.lerner@squirepb.com
                                                       scott.kane@squirepb.com
  Counsel for Defendants                               john.tancabel@squirepb.com
                                                       jennifer.dollard-smith@squirepb.com

                                                       Co-Counsel to the Plaintiff




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                                CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that the foregoing “Amended Stipulation of

 Dismissal with Prejudice Including All Consolidated Cases” was filed and served upon

 counsel for Defendants via electronic mail this 17th day of August, 2022.


                                                /s/ Scott A. Kane




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